10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27
28

Case 2:17-cv-03007-RFB-VCF Document 1 Filed 12/06/17 Page 1 of 31

KIMBERLY MAXSON-RUSHTON, ESQ.
Nevada Bar No. 5065

R. SCOTT RASMUSSEN, ESQ.
Nevada Bar No. 6100

COOPER LEVENSON, P.A.
1835 Village Center Circle

Las Vegas, Nevada 89134

T: (702) 366-1125

F: (702) 366-1857
krushton@cooperlevenson.com
srasmussen@cooperlevenson.com
Attorneysfor' Plaintif)%‘

and

ALFRED J. BENNINGTON, .]R., ESQ.
Florida Bar No. 404985

(Pro hac vice to be filed)

GLENNYS ORTEGA RUBIN, ESQ.
Florida Bar No. 556361

(Pr'o hac vice to be filed)

SHUTTS & BOWEN LLP

300 South Orange Avenue, Suite 1000
Orlando, Florida 32801

T: (407) 835-6755

F: (407) 849-7255
bbennington@shutts.com
grubin@shutts.com

Attomeysfor Plaintijj”s

and

DANIEL J. BARSKY, ESQ.

Florida Bar No. 25713

(Pro hac vice to be filed)

SHUTTS & BOWEN LLP

200 South Biscayne Boulevard, Suite 4100
Miami, Florida 33131

T: (561) 650-8518

F: (561) 822-5527

dbarsky@shutts.com

Attomeysfor Plain tijj”s

IN THE UNITE]) STATES DISTRICT COURT

FOR THE DISTRICT OF NEVADA

 

 

DIAMOND RESORTS INTERNATIONAL,
INC., a Delawal'e corporation; DIAMOND
RESORTS CORPORATION, a Mzu'ylzmd
corporation, DIAMOND RESORTS U.S.

 

CASE NO:

cnpr

\DOO‘--JO\

10
11-
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 2:1_7-cv-03007-RFB-VCF Document 1 Filed 12/06/17 Page 2 of 31

 

COLLECTION DEVELOPMENT, LLC, a
DelaWare limited liability company, and
DIAMOND RESORTS MANAGEMENT,
INC., an Arizona corporation,

Plaintiffs,
vs.

REED I-IEIN & ASSOCIATES, LLC, a
Washington limited liability company, d/b/a
TIMESHARE EXIT TEAM; BRANDON
REED, an individual and citizen of the state of
Washington; TREVOR HEIN, an individual
and citizen of Canada; and SCOTT
LOUGHRAM, an individual and citizen of the
state of Washington,

Defendants.

 

 

 

VERIFIEB COMPLAINT FOR DAMAGES AND lNJUNCTIVE RELIEF

COMES NOW, Plaintiffs, DIAMOND RESORTS INTERNATIONAL, INC., DIAMOND
RESORTS CORPORATION, DIAMOND RESORTS U.S. COLLECTION DEVELOPMENT,
LLC, and DIAMOND RESORTS MANAGEMENT, lNC. (collectively, “Plaintiffs” or
“DIAMOND”), by and through its counsel cf record KIMBERLY MAXSON-RUSHTON, ESQ. and
R. SCOTT RASMUSSEN, ESQ. of the law iirm COOPER LEVENSON, P.A. and hereby submits
this Veriiied Complaint against Dei`endant, REED HEIN & ASSOCIATES, LLC, a Washington
limited liability company d/b/a TIMESHARE EXIT TEAM (“TET”), BRANDON REED, TREVOR
HEIN, and SCOTT LOUGHRAM, as individuals and hereby states as follows:

Preliminarv Allegations

A. Personal and Subiect Matter Jurisdiction

l. This Court has subject matter jurisdiction over this dispute by virtue of 28 U.S.C. §
1332 in that there is complete diversity of citizenship between Plaintiffs and Defendant(s) in this
matter and the amount in controversy, exclusive of interest and costs, exceeds the sum of $75,000.
Additionally, this Court has subject matter jurisdiction over the claims grounded in the Lanham Act

by virtue onS U.S.C. § 133 S(a).

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 3 of 31

2. This Court has supplemental subject matter jurisdiction over the Nevada State law
claims contained herein pursuant to 28 U.S.C. § l367(a) as the state law claims are so related to
clams in this action Within the Court’s original jurisdiction that they form part of the same case or
controversy

3. This Court may exercise personal jurisdiction over Defendants because this action
arises out of and is related to Defendants’ purposeful contacts with the State of Nevada, including (i)
the solicitation of Nevada owners through the use of false and deceptive advertising, (ii) the
intentional interference with contracts between Plaintiffs, whose principal place of business is
located in Nevada, and Nevada residents, and (iii) the intentional interference With advantageous
business and contractual relationships between Plaintiffs and Nevada residents Specitically,
Defendants solicited, via postings on various websites, national television endorsements, radio
advertising, and other advertising, Diamond 0wners (as that term is defined herein below) who are
also Nevada residents (many of whom own timeshare interests in Nevada). Through the false and
deceptive advertisements, Defendants lure Diamond Owners (amongst others) to retain their services
Which miderlie Plaintiffs’ claims for tortious interference with contracts, tortious interference With
advantageous business relationships, and violations ofNevada Revised Statute § 14.065.

4. TET also executed agreements with Diamond Owners, many of Whom are Nevada
residents TET was to perform the contracts, in whole or in part, in Nevada, in that they were to
negotiate with Plaintiffs to secure the release of any future obligations owed to Plaintiffs, and the
cancellation of the Diamond Owners’ contracts with Plaintit`fs. To affect the cancellation,
Defendants caused letters to be mailed to Plaintiffs in Nevada.

5. ln addition, Defendants’ internet-based operations subject them to personal
jurisdiction in the state of Nevada. Defendants do not operate a passive advertising website; rather

Defend ants do business over the internet by entering into contracts With residents of Nevada through

\DOO‘--JG\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 4 of 31

the website, which involves the repeated transmission of computer tiles over the intemet and allows
Nevada residents to exchange their contact information with a host computer. Defendants operate
numerous Websites, including, without limitation, Www.timeshareexitteam.com, www.reedhein.com,
and www.BZlexit.com, to solicit consumers

6. Upon information and belief, Reed, Hein, and Loughran have all directly participated
in, and/or directed, the actions of TET as described herein below including, without limitation,
TET’s infringement of the Diamond Marl<s (as that tenn is defined herein below).

7. The Court’s exercise of personal jurisdiction over Defendants will not violate
traditional notions of fair play and substantial justice
B- YM

8. Venue is proper in the District of Nevada pursuant to 28 U.S.C. §1391, because as
described above and as set forth below, a substantial part of the events giving rise to Plaintiffs’
claims occurred in Nevada, a substantial number of Plaintiffs’ timeshare resort properties are located
in this District, and Defendants’ conduct giving rise to the claims set forth herein occurred in and/or
caused damage to Plaintiffs in Nevada, making Defendants subject to this Court’s personal
jurisdiction
C. The Pal'ties

1. The Plaintifi's

9. Plaintiff DIAMOND RESORTS INTERNATIONAL, INC. (“DRI”) is a Delaware
corporation with its principal place of business located at 10600 West Charleston Boulevard, Las
Vegas, Nevada 89135. DRI consists of, amongst others, interests in vacation ownership resorts.
DRl’s indirect subsidiaries m including DIAMOND RESORTS U.S. COLLECTION
DEVELOPMENT, LLC (“US COLLECTION”) - offer vacation ownership programs wherein
members acquire vacation ownership interests in the form of points that owners can then use to stay

at various destinations ln sum, DRI is a holding company and its principal asset is the ownership of
4

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 5 of 31

equity interests in its direct and indirect subsidiaries, including those identified herein. DRI is the
parent company of DIAMOND RESORTS HOLDINGS, LLC (“DRH”).

10. DRH is similarly a holding company and the parent company of DIAMOND
RESORTS CORPORATION (“DRC”).

ll. Plaintiff, DRC, is a l\/laryland corporation with its principal place of business located
at 10600 West Charleston Boulevard, Las Vegas, Nevada 89135. DRC is the parent company or
ultimate parent company of several entities that conduct timeshare sales, exchange, management,
and development activities throughout the llnited States and worldwide. DRC and its subsidiaries
develop, own, operate, and manage vacation membership resorts, and through resort and partner
aftiliations, provide members and guests with access to managed resorts, affiliated resorts and cruise
itineraries. DRC is the 100% owner of multiple underlying DIAMOND development entities, each
of which is registered in the states wherein they do business, such development entities providing
timeshare interests in the form of deeded weeks or in the form of points. These development entities
are the contracting party with DIAMOND timeshare owners to purchase agreements for deeded
timeshare interests and/or timeshare interests in the form of points. As part of the purchase of the
timeshare interest, owners arc also required to pay maintenance fees and annual assessments
Because DRC is the 100% owner of the development entities it ultimately subsumes all the losses of
its underlying development entiti_es, and therefore, all of the damages, both current and future, as a
result of litigation are encapsulated within DRC.

12. Plaintiff US COLLECTION, as explained below, is an indirect wholly-owned
subsidiary of DRI and direct subsidiary of DRC.

13. Plaintiff US COLLECTION is a Delaware limited liability company with its principal
place of business located at 10600 West Charleston Boulevard, Las Vegas, Nevada 89135. The sole

member of US COLLECTION is Diamond Resorts Developer and Sales Holding Company, a

.1>.\.»)1\)

©OO‘--.IO\U\

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 6 of 31

Delaware corporation with its principal place of business at 10600 West Charleston Boulevard, Las
Vegas, Nevada 89135. US COLLECTION sells membership interests to consumers in the form of
points, Which, in turn, are exchanged for use of properties including properties located in Nevada, in
the Diamond Resorts US Collection, a non-specific multi~site timeshare plan. ln addition to its sales
functions, US COLLECTION may finance the purchase of membership interests for consumers

14. US COLLECTION is the contracting party with Diamond timeshare owners to
purchase agreements for timeshare interests in the form of points As part of the purchase of the
timeshare interest, owners are also required to pay maintenance fees and annual assessments

15. US COLLECTION is registered to do business in Nevada and regularly transacts
business in Nevada.

16. Plaintiff, DIAMOND RESORTS MANAGEMENT, INC. (“DIAMOND
MANAGEMENT”), is another indirect subsidiary of DRl. DlAl\/IOND MANAGEMENT is an
Arizona corporation, registered to do business in the State of Florida, with its principal place of
business located at 10600 West Charleston Boulevard, Las Vegas, Nevada 89135. By way of
contractual agreement, the management powers of the various DIAMOND subsidiaries and affiliated
entities have delegated their management powers and rights to this DIAMOND MANAGEMENT
arm exclusively The management services delegated to the management company includes, but is
not limited to, the billing and collection of maintenance and annual fees from timeshare interests

17. DlAl\/IOND MANAGEMENT maintains rights and interests in the maintenance and
annual fees which are impacted by Defendants’ conduct As such, DIAMOND MANAGEMENT is
the real party in interest and has standing to prosecute the claims herein.

18. DIAMOND is a global leader in the hospitality and vacation ownership industries

19. DIAMOND strives to provide innovations and flexibility to ensure that Diamond

members and owners create their dream vacation, and strives to provide Diamond members and

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 7 of 31

owners an increased sense of happiness and satisfaction in their lives, while feeling healthier and
more fulfilled in their relationships by enjoying memorable and meaningful experiences

20. DIAl\/IOND is concerned not only for its own economic well-being, but for the well-
being of members and owners of DlAl\/IOND timeshare interests (“Diamond Owners”), who have
also been defrauded by Defendants’ wrongful conduct.

21. DlAl\/IOND institutes this action to redress the Defendants’ illegal actions and
damages suffered by DIAMOND, and to deter future wrongful conduct against DlAl\/IOND and
Diamond Owners.

2. The Defendants

22. A cottage industry has arisen whereby unscrupulous companies mislead consumers
including Diamond Owners, into disrupting or otherwise breaching the valid, enforceable contracts
between consumers and timeshare companies, including DIAMOND. Entities participating in this
industry are known as “timeshare exit companies.” Timeshare exit companies generally promote
and market themselves as having the ability to get timeshare owners released or otherwise
discharged from their contracts _ including the attendant financial obligations - with timeshare
developers, like DIAMOND. While engaging in this behavior, timeshare exit companies generally
promote themselves as “consumer protection firms.” At least solne timeshare exit companies
including the defendant, fail to inform consumers that the consumers may suffer substantial harm to
their finances and credit if they utilize the timeshare exit company’s methods Thus, at least some
timeshare exit companies, including the defendant, trick consumers, who otherwise may not breach
their timeshare contracts into retaining the timeshare exit company to breach those contracts

23. Defendant, REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT TEAl\/l
(“TET”), is a timeshare exit company. Reed Hein & Associates, LLC is a limited liability company

organized and existing under the laws of the state of Washington. The Washington Secretary of

\DOO‘--JO\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 8 of 31

State, Corpora_tions Division lists a special address for TET of 906 W 2nd Avenue, Suite 100,
Spokane, Washington 99201-4540. On its website ~ www.timeshareexitteam.com - TET lists a
“Corporate Office” located at 3400 188th Street SW, Suite 300, Lynwood, Washington 98037. TET
was registered with the Washington Secretary of State on or about December 31, 2012.

24. The Washington Secretary of State lists two Governing Persons for TET: Brandon
Reed and Trevor Hein.

25. The lnternet Corporation for Assigned Nalnes and Numbers’ (“ICANN”) WHOIS
database lists Scott Loughran (“Loughran”) as the registrant, admin contact, and tech contact for
www.timeshareexitteam.com. TET’s website lists “Scott L.” as TET’s marketing director. That
same webpage contains a hyperlink to a Linkedln profile for a “Scott Loughran” who claims to be
the Director of l\/larketing at ReedHein[sic] & Associates.

26. Upon information and belief, Brandon Reed (“Reed”) is an individual domiciled in
King County, Washington and is a citizen of the state of Washington.

27. Upon information and belief, Trevor I-lein (“Hein”) is an individual domiciled in
Surrey, British Columbia, Canada and is a citizen of Canada.

28. Upon information and belief, Loughran is an individual domiciled in Snohomish
County, Washington and is a citizen of the state of Washington.

Background and Factual Allegations Common to All Counts
A. The Timeshare Purchase

29. Plaintiffs conduct timeshare sales, exchange, management, and development
activities throughout the United States with a worldwide network of more than 420 vacation
destinations in 35 countries The Plaintiffs’ timeshare resorts have been in operation for many years
and they have developed a considerable base of owners who own timeshare interests at the

Plaintiffs’ various resorts

\DOO*-JO\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 9 of 31

30. At the time consumers purchase timesharcs from the Plaintiffs, they execute
Contracts for Purclrase and Sale (a “Purchase Agreement”) wherein the purchaser agrees, inter alia,
to pay maintenance fees to the Plaintiffs for the maintenance and upkeep of the timeshare units and
common areas of the timeshare properties ln addition, the purchaser agrees to pay a pro-rated share
of the property taxes to the Plaintiffs, which monies are then submitted by the Plaintiffs to the local
tax collectors to satisfy tax obligations

31. If a purchaser desires mortgage financing, he or she may complete and submit a
mortgage application; upon approval of financing, a purchaser will execute and deliver a Promissory
Note and Mortgage in connection with the timeshare purchase Both the Promissory Note and
Mortgage are referenced and incorporated in the Purchase Agreement with the owners US
COLLECTION is the lender and holder of the Broririssory Note and Mortgage.

32. US COLLECTION is damaged by Defendants’ tortious and illegal conduct When the
Defendants wrongfully convince Diamond Owners to breach their contracts with Plaintiffs, they
cease making financing payments to US COLLECTION, thus negatively impacting US
COLLECTION’s revenue (and, though they are generally unaware it is occurring, the Diamond
Owner’s credit is negatively impacted as well).

33. DRI is damaged by the Defendants’ tortious and illegal conduct because Defendants’
entire business model is premised on drawing customers away from DIAMOND, disparaging the
Diamond brand, and making false statements about and to DIAMOND. l\/,[oreover, because the
losses resulting from Defendants’ tortious conduct are reflected on the DRl’s financial statements
DRI ultimately suffers financial harm as a direct result of Defendants’ illegal conduct
B. The Diamond Brand

34. DRI, through its wholly owned subsidiary DRH, is the owner of the valuable

Diamond® brand. Over the past two decades, Plaintiffs have spent substantial amounts of money

\DOO‘~I|O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 10 of 31

marketing their brand to establish its widespread goodwill amongst consumers and foster its
esteemed reputation throughout, inter alta, the hotel and resort, real estate sales management, and
timeshare industries

35. Plaintiffs have developed the Diamond l\/larks (as defined herein below) to
distinguish its products and services Plaintiffs use the Diamond l\/larks in its advertising, marketing,
and promotional endeavors Plaintiffs have federal registrations for a number of marks, including the

Diamond Marks listed below:

 

 

 

 

Registration Trademark Registration Date Description of
Number . Goods andjor
Services
2,411,329 DlAl\/IOND RESORTS December 5, 2000 IC 042: Hotel
INTERNATIONAL Services.
2,432,190 DIAMOND RESORTS February 27, 2001 lC 036: Real estate
lNTERNATlONAL time sharing services
3,746,815 DIAMOND RESORTS February 9, 2010 IC 036: Real estate

equity sharing,
namely, managing
and arranging for co-
ownership of real
estate; real estate
time-sharing;
vacation real estate
time share exchange
services; vacation
real estate time-
sharing

 

 

4,067,822 DIAMOND LOYALTY December 6, 2011 lC 036: Real estate
equity sharing,
namely, managing
and arranging for co-
ownership of real
estate; real estate
services, namely,
rental of short term
furnished apartments;
real estate time-
sharirrg; vacation real
estate time sharing;
vacation real estate
time-sharing
services

 

 

 

 

 

 

10

©OO'--.]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 11 of 31

 

 

 

 

 

IC 038: Providing
free intemet access',
providing a dedicated
web portal in the
nature of providing
access to interactive
online chat ro om;
providing dedicated
reservation telephone
lines for securing
accommodations

IC 043: Travel
services, namely,
providing travel

lodging information
services and travel
agency booking
services for travelers;
arranging for rooms
in resorts,
accommodation
exchange and
reservation services;
making arrangements
for travelers to
extend lodging
reservations redeem
unused lodging
reservations or to be
allowed to waive
redemption dates in
connection with
accommodation
promotions

IC 045: Concierge
services for others,
comprising making
requested personal
arrangements and
reservations and
providing customer
specific information
to meet individual
needs rendered
together in a hotel
and resort, apartment
timeshare
environment;
providing customized
gift baskets including
bathroom amenities

 

 

ll

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 12 of 31

 

4,101,489

SHARE THE DlAl\/IOND
DIFFERENCE

February 21, 2012

lC 036: Real estate
equity sharing,
namely, managing
and arranging for co~
ownership of real
estate; real estate
time~sharing;
vacation real estate
time share exchange
services; vacation
real estate time-
slraring; vacation real
estate timeshare
services

 

4,361,959

DIAMOND RES ORTS
lNTERNATlONAL

my 2, 2013

IC 035: Real estate
sales management
managing and
operating hotels of
others

 

4,505,500

DIAMOND LUXURY
SELECTION

January 14, 2014

lC 043: l\/laking
reservations and
bookings for others
at hotels and
residences; providing
a website featuring
information in the
field of hotels and
temporary
accommodations for
travelers; reserving
lodging rooms for
travelers

 

 

4,805,164

 

DIAMOND PLUS
PO]NTS

 

Septernber l, 2015

 

lC 035: lncentive
programs for credit
card users, namely,
providing gift cards,
merchandise, and
travel awards for
credit card use as part
of a customer loyalty
program

lC 036: Credit card
services; incentive
programs for credit
card users, namely,
providing cash and
rebates for credit
card use as part of a
customer loyalty
program.

 

 

12

 

OO‘-~`|O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 13 of 31

(collectively the “Diamond l\/larks”). True and correct copies of the Certificates of Registration for
the Diamond l\/[arks, and associated assignments to DRH (as appropriate), are attached hereto as
Composite Exhibit 1.

36. The Diamond l\/larks are in full force and effect and have never been revoked or
cancelled l\/lany of the Diamond Marks have become incontestable

37. Plaintiffs have provided notice to the public of the registrations and ownership of the
Diamond l\/larks by including same on general promotional, advertising, legal and other documents
and materials Additionally, by virtue of registration on the Principal Register, DRI has provided
constructive notice of its claim of ownership of the Diamond l\/larks. Upon information and belief,
Defendant has actual knowledge of the registration, and DRl’s ownership, of the Diamond l\/larks.

38. The federally protected Diamond l\/larks have become associated with a well-regarded
hotel and resort, real estate sales management, and timeshare brand and have otherwise become
famous
C. The Defendants and Their Business

39. Upon information and belief, in or around late December, 2012, TET was formed by
Reed and Hein to solicit timeshare owners using false and misleading advertising with, among
others, the purpose of tortious interference with Plaintiffs' existing contracts and advantageous
business relationships with its owners

40. TET is a “timeshare exit business.” The goal of a timeshare exit business is to solicit
owners of timeshare interests (including Diamond Owners), convince those owners that they want to
terminate their timeshare contracts (frequently through improper means, though this is rarely
disclosed to the consumer), and entice those owners into signing a contract with the timeshare exit

business, requiring payment up-front. Upon information and belief, the owners of the timeshare

13

grew

OOO‘--JG\U\

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 14 of 31

interests (including Diamond Owners) may not desire to breach their valid timeshare contracts but
for the fraudulent inducements offered by TET.

41. TET uses a variety of methods to acquire potential customers (such as Diamond
Owners). Some of these marketing methods include being endorsed by television personalities and
motivational speakers’ websites, advertising through radio stations across the country, appearing in
newspaper articles (such as in the Los Angeles Times and USA Today), engaging in television
advertising, and utilizing at least three discreet websites: www.timeshareexitteam.corn,
www.reedhein.com, and www.321exit.com (collectively the “TET Domains”). The domain names
www.reedhein.com and www.32lexit.com both redirect customers to one of the pages hosted at
Www.timeshareexitteam.com. At least some of these websites list Loughran as the owner thereof.

42. Defendants also utilize social media, such as Facebook, and other internet websites
and forums for marketing purposes and to induce potential customers (including Diamond Owners)
into contacting TBT. An individual claiming to be TET’s marketing director (i.e., Loughran) has
interacted with individuals on a variety of websites and forums, responding to criticism leveled
against TET and attempting to defend against consumer allegations of fraud or other unsavory acts
allegedly committed by TET.

43. rl`he TET Domains promise that potential customers (such as Diamond Owners) can
exit their timeshare, safely, legitimately, and forever, and alleges that TET “work[s] with timeshare
companies to exit your timeslrare.” TET claims to back this promise with a 100% money back
guarantee, though a close reading of TET’s disclaimers reveals that this alleged guarantee is not as
good as it seems

44. TET’s misleading advertising and marketing are designed to induce Diamond Owners
into breaching their timeshare contracts with Diamond. However, TET fails to disclose how,

exactly, TET will enable its customers to “exit” their timeshare contracts How TET will

14

10
ll
12
13
14
15

16'

17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 15 of 31

accomplish that is not publicly disclosed; TET only refers to an “exit process” that TET claims is
“proprietary.” TET states that this “proprietary” process is unique to every case.

45. Upon information and belief, TET does not publicly disclose the fees it charges
timeshare owners; when asked about fees charged, TET’s normal response is, once again, to state
that every case is unique and that a private consultation with TET is the only way to obtain a fee
quote. The Los Angeles Tirnes reported on this behavior. According to that article, after it was
published, TET provided a statement regarding their “average” fee, but TET continues to refuse to
provide fee information unless a consumer has a “free consultation’l With TET.

46. Consurners, including Diamond Owners, are left with little idea as to what TET will
do for them (other than allow them to exit their timeshare contract) or how TET will accomplish that
task, without agreeing to be submitted to what is, upon information and belief, a high-pressure sales
meeting. Timeshare owners that contact TET may not be predisposed to exit their timeshare when
they contact TET and may only be seeking information that TET refilses to publicly disclose.

47. Upon information and belief, the free consultation (in reality, sales pitch) may be
either in person with TET or its employees or agents, or virtually via a webinar, internet
presentation, or other teleconferencing method.

48. At the free consultation, TET (or its employees or agents) collects certain information
from the prospective customer at the sales pitch meeting An example of the information collected is
armexed hereto as Exhibit 2.

D. Defendants’ Scheme, Generallv

49. Upon information and belief, utilizing the information collected from the potential
customer, TET prepares a worksheet designed to sell the potential customer on hiring TET. An
example of this worksheet is annexed hereto as Exhibit 3. This worksheet is misleading ln order to

induce timeshare owners, including Diamond Owners, into signing a contract with TET, TET

15

OO'--.`|O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 16 of 31

presents the potential customer with two calculations total maintenance fees plus special
assessments plus mortgage payments (if any) called for by the remainder of the timeshare owner’s
timeshare contract, and the fee TET will charge the potential customer for TET’s “proprietary
process” By failing to discount the payments expected over the remainder of the timeshare contract
to net present value, TET willfully exaggerates what the timeshare owner may pay, making TET’s
fees seem relatively lower in comparison to what they really are.

50. The fees charged by timeshare exit businesses vary but are typically in the many
thousands of dollars perl customer These fees are so high that some timeshare exit businesses,
including TET, offer financing plans to timeshare owners (including Diamond Owners) to further
induce the timeshare owner to retain TET to breach their timeshare contract

51. Thus, at this point, TET has actively solicited timeshare owners including Diamond
Owners to ca11 or visit TET’s website, refused to provide any substantive information until those
timeshare owners agree to an iri-person or virtual consultation which is in actuality, a high pressure
sales pitch, and presented the timeshare owner with a misleading financial calculation and deceptive
guarantee Upon information and belief, all of the foregoing is done to induce timeshare owners
including Diamond Owners, to retain TET to assist the timeshare owners in breaching their
timeshare agreements and to create the appearance of possible affiliation, sponsorship, endorsement,
or approval by and between TET and DlAl\/IOND.

52. lf a timeshare owner decides to utilize T`ET, TET presents the timeshare owner with
at least two (and sometimes more) different documents a contract, a copy of which is annexed
hereto as Exhibit 4, and worksheet titled “Things to Remember,” a copy of which is annexed hereto
as Exhibit 5. Upon information and belief, even when providing the aforementioned documents
TET still does not tell timeshare owners including Diamond Owners what, exactly, TET is going to

do in order to fulfill the promises made by TET.

16

OG'-.IO\U`¢-P~b-¥l\)

©

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 17 of 31

53. What TET actually does in many instances is intentionally prohibit communication
between DIAMOND and the Diamond Owners who have retained TET, cause those Diamond
Owners to default on their payment obligations under the timeshare contract causing DIAMOND to
foreclose on that interest (damaging the credit of the Diamond Owner), and then claim that TET has
“exited” the timeshare owner from their timeshare contract. All of the foregoing is done without the
knowledge of the timeshare owner and falls within the loopholes of TET’s money-b ack “guarantee.”

54. The Things to Remember worksheet, which requires the timeshare owner, including
Diamond Owners, to initial next to every “point to remember,” actually makes the situation even
murkier. This worksheet contains a number of provisions designed to prevent the timeshare owner
from discovering that their account remains active, they remain obligated to pay, and that TET did
not obtain the “guaranteed” timeshare exit agreement More importantly the provisions are designed
to prevent DIAMOND from communicating with its members about their contracnial obligations
Some of these points include directing the timeshare owner not to: contact the timeshare company
because any contact will slow down the process (Ex. 5, 11 2), talk with anyone from the timeshare
company or any collection agency (Id. at 11 4), and contact any attorney Working on the file, instead
directing all contact to TET (Ici. at ‘[[ 9).

55. While the Tlrings to Remember worksheet informs the timeshare owner that they
need to pay all fees when they come due, in actuality, TET verbally instructs the timeshare owner
not to make any payments

56. The worksheet also requires the timeshare owner to acknowledge that “the last thing
most of the timeshare companies want is to release documentation that ad_mits their agreement to let
you out of your contract Like we said before, we will get you a copy of such agreement if we can,

but regardless if we are able to, we will give you an official notification from us that you have been

17

.]d.

---.`lO\U`l

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/0‘6/17 Page 18 of 31

released.” Id. at 11 5 (emphasis in original). TET makes this statement as if settlements cannot be
kept confidential.

57. Upon information and belief, while the foregoing points may seem highly unusual to
trained attorneys the general consuming public may not be aware that a prohibition from contacting
their own attorney is extremely unusual and that things like confidential settlement agreements exist.
E. How Defendants Execute their Scheme

58. TET utilizes attorneys to execute its “proprietary process.” These attorneys are
retained directly by Defendants pursuant to bulk representation contracts wherein Defendants
promise to send the attorneys a minimum number of files per month and pay a fixed fee per lile.
The attorneys represent TET and not the timeshare owners Upon information and belief, this
arrangement may amount to illegal or unethical fee splitting or sharing

59. TET’s attorney contacts a timeshare company, such as DIAMOND, purportedly on
behalf of the timeshare owner (who is not actually the attorneys’ client), to make vague statements
that the timeshare owner has concerns that they are willing to accept a reasonable offer to settle and
that the timeshare company is not to contact the timeshare owner.

60. Thus, once the aforementioned letter is sent, TET has effectively isolated the
timeshare owner from the timeshare company. TET has directed its client (the timeshare owner)
not to have any contact with the timeshare company, TET’s attorney ~ misrepresenting him or
herself as representing the timeshare owner 4 has directed the timeshare company not to contact the
timeshare owner, and TET has directed its client not to contact the attorney. Because the attorney
will not speak with the timeshare owner, TET has ensured that TET controls all information and the
timeshare owner 4 which is TET’s client ~ receives only the information TET decides to provide.

61. This isolation is purposefull Despite any language in any agreement to the contrary,

TET directs its timeshare owner clients not to pay maintenance or other fees on their timeshare

18

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 19 of 31

contracts Alternatively, TET tells timeshare owners that TET will reimburse the timeshare owners
for any fees they must pay to the timeshare comp any but their fails to make the promised payment
62. Upon information and belief, TET engages in this course of action so that, at the very
least, if negotiations or other means are unsuccessful, the timeshare owner’s failure to make
required payments results in the timeshare company defaulting the timeshare owner and either
foreclosing on the timeshare contract or receiving an offer of a deed-in-lieu of foreclosure This
happens without the timeshare owner’s knowledge because TET or its attorneys have directed the
timeshare company not to contact the timeshare owner and directed the timeshare owner not to have
contact with the timeshare company The timeshare owner’s only knowledge of a default happens
when they realize the default has been reported to various credit reporting agencies adversely

affecting the timeshare owner’ s credit rating

F. Defendants’ Scherneq a Specific E)_rample

63. A specific example of how Defendants’ scheme works may be useful in
understanding its operation. The following specific incident is presented for illustrative purposes
and is in no way limiting

64. On November 6, 2017, DIAMOND received a Consumer Complaint from the
Consumer Protection Division of the Attorney General’s Office of the state of Washington. A copy
of this complaint and correspondence is annexed hereto as Exhibit 6.

65. The Consumer Complaint was filed by l\/ls. P.A., a Diamond Owner and TET client.

66. Ms. P.A. entered into a contract with TET on or about August 21, 2015. She
contacted TET off of a referral from motivational speaker Dave Ramsey’s website. Ex. 6 at p. 16.

l\/is. P.A. (together with J.A.) signed a Timeshare Owner Exit Agreement with TET. Id. at pp. 20~23.

19

\DOO‘--JO\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-03007-RFB-VCF Document 1 Filed 12/06/17 Page 20 of 31

67. The Timeshare Owner Exit Agreement states, in part:

Please remember that you own your Timeshare until the closing of the exit is
finalized, thereby relieving you of ownership; and you remain responsible for
all financial obligations associated with your Timeshare until the exit is
completed The closing of an exit transaction usually takes 3 to 9 months, but
in some cases longer due to Resort delays or restrictions

Id. at p. 21. Despite this language, TET actually told Ms. P.A. not to make any further payments to
DIAMOND.

68. On October 8, 2015, the Law Offices of Mitchell Reed Sussman & Associates sent a
letterto DRI. A copy of this letter is annexed hereto as Exhibit 7. The October 8 letter was received
by DRI on or about October 16, 20151

69. ln the October 8 letter, the Law1 Offices of Mitchell Reed Sussman & Associates
claims to represent J.A. and P.A., threatens DRI With allegations of misrepresentation and fraud,
states that J.A. and P.A. are providing their notice of resignation from the vacation club “consistent
with Sections 613 and 620 of the provisions of the Model Non-Profit Corporation Act as Amended
in 2008” and citing Supreme Court law (in employment union cases) in support thereof, demanding
that “pursuant to my client’s1 request, please forward all future connnunications” to the law firm,
and citing the Federal Fair Debt Collection Practices Act to notify DIAMOND that it shall “not
contact by phone, mail or initiate any communication with my client . . . .”

70. The October 8 letter also states that “[P.A. and J`.A.] will no longer be making any
payments on the time - share including any future or past due maintenance assessments.” Ex. 7, p.
l.

71. Additionally, the October 8 letter states that “my client” is “prepared to execute a
‘deed in lieu’ of foreclosure by which he will deed the property back to you without you having to

incur the expense of a drawn out foreclosure proceeding.“

 

l Ostensibly the J.A. and P.A., in reality TET.
20

' \D 00 ‘--.Il C\

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 21 of 31

72. Upon information and belief, Ms. P.A. was never informed that TET’s “proprietary
process” was to force her timeshare interest into foreclosure Further, upon information and belief,
Ms. P.A. never retained Mitchell Reed Sussman & Associates.

73. DIAMOND received one phone call regarding this issue from the Mitchell Reed firm
and then heard nothing further. DIAMOND proceeded to foreclose on Ms. P.A.’s timeshare interest

74. On September 5, 2017 - more than two years after signing the contract with TET _
Ms. P.A. sent an email to TET. This email is part of a chain of emails that started in July 2017,
when TET asked Ms. P.A. whether she had brought her account with DIAMOND current On
September 5, P.A. stated, infer alia, that,

Third, when 1 was verbally told that 1 would need to bring the
maintenance fees current in order to proceed with the exit, 1 expressed
some serious concern. My husband and 1 had always kept our fees
current However, when we retained services through ReedHein,
under the direction of Reed 1-1ein and with great concerned [sic]
expressed at that time, we stopped paying those fees.

Ex. 6 at p. 13.

75. 1n response, TET sent a lengthy email to Ms. P.A. that, inter alia, explains that there
are additional fees she must pay to transfer her timeshare interest, that “Standard Timeshare
Transfers is in the process of preparing transfer documents,” and that

111 regards to your maintenance fees, it may have been suggested to
stop paying your maintenance fees . . . We do acknowledge the
suggestion of non~payment, which is why we are offering to cover late
fees and interest that may have accrued on the account 1 do see that
Osman acknowledged this offer in a note in your file How this would
work is, you would reach out and colne completely current on your
payments with the timeshare so that your account carries a Zero dollar
account balance You would then request that Diamond send you a
statement showing the breakdown of all your fees, showing
specifically what the late fees and interest may have been and that you
brought the account current That information would then need to be
provided to Reedhein so that we could see how much the late fees and
interest amounted to, and have this approved for reimbursement

Ex. 6 at p. 15.

21

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 22 of 31

76. Ms. P.A. is not the only person who has been induced into breaching a timeshare
contract with DIAMOND. There are numerous consumer complaints on the internet alleging TET
engaged in the scheme outlined above

77. Defendants thus wrongly induce timeshare owners, including Diamond Owners, into
breaching their timeshare agreements with Plaintiffs.

78. 111 the course of carrying out their scheme outlined above, Defendants utilize at least
some of the Diamond Marks, make various disparaging statements about Plaintiffs, and create the
impression that there is some sort of endorsement, sponsorship, or affiliation between Defendants
and Plaintiffs. The statements include statements that DIAl\/[OND unfairly charges fees to timeshare
owners, that DIAMOND lies to timeshare owners, and that DIAMOND hides information from
timeshare owners.

79. Defendants intentionally and unjustifiably interfered with Plaintiffs' contractual and
advantageous business relationships with the Diamond Owners by advising them to terminate their
contractual relationships without any valid grounds, in exchange for a fee and the false assurance
that there will be no liability because TET is involved.

80. Plaintiffs have not engaged in any behavior which would justify the cancellation of
any of the contractual obligations by the Diamond Owners.

81. As a direct and proximate result of the Defendants’ intentional and unjustihed
interference with Plaintiffs' contractual relationships with the Diamond Owners, Plaintiffs have been
damaged

82. All conditions precedent to the filing of this action have been satisfied, waived, or
have occurred.

83. 1n addition, Plaintiffs have retained the law firms of Shutts & Bowen LLP and

Cooper Levenson, P.A. to represent them in this action and are obligated to pay reasonable attorney's

22

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 23 of 31

fees and costs incurred herein. (The attorneys from Shutts & Bowen LLP listed on the cover of this
complaint will be applying for admission to this district pro hac vice forthwith.)
COUNT I

(INTENTIONAL INTERFERENCE WITH EXISTING
CONTRACTUAL RELATIONS)

84. Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1 through
83 above as if more fully set forth herein.

85. This is a cause of action for tortious interference with existing contracts and for
damages in excess of $75,000.00, exclusive of interest, attorney‘s fees and costs, and is within this
Court's jurisdiction

86. Plaintiffs have valid and legally enforceable contracts with Diamond Owners for their
timeshare units.

87. Defendants have knowledge of those relationships The very fact that Plaintiffs have a
business relationship with the Diamond Owners is the basis under which Defendants sought to
establish a relationship with the Diamond Owners.

88. Defendants solicited the Diamond Owners with the intention of inducing or causing
them to breach their contracts with Plaintiffs

89. Defendants’ willful actions to help parties with whom Plaintiffs have valid
contractual agreements breach their agreements constitute intentional interference with existing
contracts

90. Defendants have intentionally and without justification or privilege interfered with
Plaintiffs1 existing contracts by convincing Diamond Owners to immediately stop making any
further payments under their contracts without any legal basis.

91. Defendants’ actions were not made in good faith, but rather were made with the

knowledge and purpose to injure Plaintiffs or with reckless disregard for the attendant consequences

23

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 24 of 31

naturally, directly, and proximately resulting from Defendants’ actions and without reasonable
grounds for Defendants to believe that their actions were justified and proper.

92. As a direct and proximate result of Defendants’ intentional misconduct Diamond
Owners have terminated, or have sought to terminate their contractual relationship with Plaintiffs

before the expiration of the terms of those contracts

 

93. Defendants have no justification or privilege in procuring the breach of such
contracts
94. As a direct and proximate result of the foregoing, Plaintiffs suffered damages
COUNT II
(INTENTIONAL INTERFERENCE WITH ADVANTAGEOUS BUSINESS
RELATIONSHIPS/PROSPECTIVE ECONOMIC ADVANTAGE)
95. Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1 through

83 above as if more fully set forth herein.

96. This is a cause of action for tortious interference with advantageous business
relationships and for damages in excess of 875,000.00, exclusive of interest, attorney's fees and
costs, and is within this Court's jurisdiction.

97. Plaintiffs have advantageous business relationships with the Diamond Owners.

98. Defendants have knowledge of those relationships The very fact that Plaintiffs have a
business relationship with the Diamond Owners is the basis under which Defendants sought to
establish a relationship with the Diamond Owners.

99. Defendants have successfully solicited Diamond Owners wishing to terminate their
contracts with Plaintiffs

100. As stated above, Defendants have intentionally and without justification interfered
with Plaintiffs‘ relationships by convincing Diamond Owners to immediately stop making any

further payments under their contracts without any legal basis

24

boom

-ao\ui

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 25 of 31

101. Defendants’ actions were not made in good faith, but rather were made with the
knowledge and purpose to injure Plaintiffs or with reckless disregard for the attendant consequences
naturally, directly, and proximately resulting from Defendants’ actions and without reasonable
grounds for Defendants to believe that their actions were justified and proper.

102. As a direct and proximate result of Defendants’ intentional misconduct Diamond
Owners have terminated, or have sought to terminate their contractual relationship with Plaintiffs
before the expiration of the terms of those contracts

103. Defendants had no justification or privilege in procuring the breach of such business
relationships

104. As a direct and proximate result of the foregoing, Plaintiffs suffered damages

COUNT III
(VIOLATION OF THE LANHAM ACT, 15 U.S.C. § 1125(a)(1))

105. Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1 through
83 above as if more fully set forth herein.

106. This is an action for violation of the Lanham Act, 15 U.S.C. § ll25(a)(1).

107. Defendants willfully,- deliberately, and egregiously made false or misleading
statements of fact in their commercial advertisements and intended to mislead Diamond Owners
The statements described above and incorporated herein were literally false, either on their face or
by necessary implication

108. The representations described above were commercial speech made by a defendant
acting in competition to Plaintiffs by trying to interfere with Plaintiffs’ business relationships for
Defendants’ own ill-gotten financial gain, for the purpose of influencing Diamond Owners to retain
Defendants’ services, and were disseminated sufficiently to the timeshare owning public to

constitute advertising or promotion within the timeshare industry.

25

U'l-l>-L)JN

‘--.IQ

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 26 of 31

109. Defendants’ false or misleading statements either deceived or had the capacity to
deceive a substantial segment of Diamond Owners

110. Defendants’ deception is material, in that it is likely to influence the Diamond
Owners’ decision whether to retain Defendants’ services or to cease making payments to Plaintiffs

111. Plaintiffs have been and are likely to be injured as a result of Defendants’ false
statements

112. Plaintiffs demand both injunctive and monetary relief as set forth by the Lanham Act.
See 15 U.S.C. §§ 1116_1117. v

COUNT IV
(FALSE ADVERTISING UNDER THE LANHAM ACT)

113. Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1 through
83 above as if more fully set forth herein.

114. Defendants have made false statements of fact about both Diamond and themselves
Amongst other statements Defendants have falsely stated that Diamond will not work with Diamond
Customers should any of those Diamond Customers wish to exit their timeshare contracts and
Defendants have falsely stated and/or implied that they use some special method to assist Diamond
Customers in exiting their timeshare contracts None of the foregoing statements are true

115._ The false statements made or implied by Defendants have the tendency to deceive the
consuming public.

116. The false statements made or implied by Defendants are material and likely to
influence the purchasing decisions of the consuming public, specifically Diamond Customers

117. Defendants have placed their statements in interstate commerce by distributing the
statements actively on their websites and through other national media outlets such as television and

radio.

26

 

.]§

\COO*--`|O\U`l

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 27 of 31

118. Plaintiffs are likely to be injured as a result of the false statements made or implied by
Defendants through both the direct diversion of Diamond Customers away from Plaintiffs and to
Defendants and through the lessening of the goodwill associated with Plaintiffs’ goods and services

COUNT V

(VIOLATION OF NEVADA'S DECEPTIVE
TRAI)E PRACTICES ACT, Nev. Rev. Stat. §598, 598A, 41.600, et seq.)

119. Plaintiffs reallege and reincorporate the allegations contained in paragraphs 1 through
83 above as if more fully set forth herein.

120. This is a cause of action for violations of the Nevada Deceptive and Unfair Trade
Practices Act, Nev. Stat. §598 and §598A, et seq. against Defendants including unconscionable acts
and practices and unfair and deceptive practices in the conduct of trade or commerce

121. Defendants are engaged in "trade or commerce" as defined by Nev. Rev. Stat. Section
598A.020.

122. Defendants have engaged in the following unconscionable,-unfair, and deceptive acts
or practices: failing to disclose to timeshare owners how Defendants will get timeshare owners out

of their timeshare contracts isolating the timeshare owner from the timeshare company, inducing the

timeshare owner to breach their timeshare contract resulting in negative consequences for the

timeshare owner (such as adverse credit reports), representing to the timeshare owner that they
would have a lawyer when, in reality, the lawyer works for TET, and failing to inform the timeshare
owner of the foregoingl 1n so doing, Defendants make false or misleading representations of tact to
Diamond Customers.

123. Plaintiffs have suffered substantial harm as a direct and proximate cause of
Defendants’ deceptive, misleading, and unfair practices as they wrongly induce Diamond Owners
into breaching timeshare contracts with Plaintiffs when the timeshare owner did not know they were

being induced into breaching the timeshare contract

27

rs

---.`lO\U*l

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 28 of 31

124. Defendants’ unconscionable and deceptive acts and practices are likely to continue
and will cause damage to Plaintiffs because they are currently soliciting Plaintiffs' timeshare owners
through false and misleading advertisements and convincing them to immediately terminate their
contractual obligations with Plaintiffs Additionally, they have lulled Diamond Owners into a sense
of complacency by informing them that TET is handling the file and guaranteeing results

7 125. Pursuant to Nev. Rev. Stat. §§598, 598A, 41.600, Plaintiffs are entitled to damages
attorney's fees, and costs

126. Plaintiffs reserve the right to seek punitive damages under Nevada law.

COUNT VI
(TEMPORARY AND PERMANENT INJUNCTIVE RELIEF)

127. Plaintiffs reallege and reincorporate the allegations contained in paragraphs l through
83 above as if more fully set forth herein.

128. This is a cause of action for temporary and permanent injunctive relief and is within
this Court‘s jurisdiction.

129. Defendants’ solicitation of Diamond Owners using false and misleading advertising
and their subsequent instruction to immediately terminate the Diamond Owners' contracts with
Plaintiffs is harming Plaintiffs and constitutes tortious interference with Plaintiffs' existing
contractual and advantageous business relationships

130. Defendants have engaged, continue to engage, and/or intend to further engage in the
conduct described above l

131. Defendants’ actions present an immediate threat of irreparable harm to Plaintiffs, and
Plaintiffs will suffer irreparable harm if Defendants, and their agents, affiliated companies or

entities, representatives and employees are not enjoined from this conduct

28

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 29 of 31

132. The threat of irreparable harm is continuing because Defendants currently engage in
an ongoing business whereby they solicit Diamond Owners using the false and misleading
advertising outlined above; and then convince the Diamond Owners to immediately stop paying all
mortgage maintenance and tax payments associated with their timeshares, regardless of whether
any valid legal basis exists for the cancellationl

133. Plaintiffs have no adequate remedy at law as damages will not address the harm
Plaintiffs will suffer if Defendants are permitted to continue with this activity. Plaintiffs will have
imminently thousands of dollars in delinquent mortgage, maintenance and tax payments owed to
them and will be forced to expend monies foreclosing on the timeshares to recoup these monies to
no end as Defendants refuse to cease and desist from this tortious conduct

134. There is a substantial likelihood that Plaintiffs will prevail on the merits of their
claims against Defendants

135. The injury and potential harm caused by Defendants’ intentional inference with
Plaintiffs‘ advantageous business relationships outweigh the harm, if any, that an injunction would
cause to Defendants

136. The issuance of the requested injunction will serve the public interest by protecting
Plaintiffs' legitimate business interests and their timeshare owners and by restraining the disruptive
and tortious actions committed by Defendants

Prayer for Relief

WHEREFORE, Plaintiffs respectfully demand judgment in their favor and against
Defendants for:

(a) compensatory damages in an amount that exceeds $75,000.00;
(b) special darnages;

(c) primitive damages;

29

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 30 of 31

(d) pre- and post-judgment interest;

(e) attorneys' fees;

(f) costs;

(g) a temporary and permanent injunction entered against Defendants and their
agents representatives employees affiliates and any others acting in concert or participating with
Defendants and prohibiting Defendants from: (l) publishing false and misleading
misrepresentations on their website or in any other electronic or print media or materials regarding
Plaintiffs' owners' cancellation of their timeshare interest without any legal basis; and (2) contacting
and/or otherwise interfering with Plaintiffs1 contractual and business relationships with their owners;

(h) their costs and attorney's fees pursuant to Nev. Rev. Stat. §41.600 and/or 15
U.S.C. § 1117; and

(i) such additional and further relief this Court deems just and proper.

DATED this 6th day of December, 2017.
COOPER LEVENSON, P.A.

SHUTTS & BOWEN, LLP

KIMBERLY MAXON-RUSHTON
Nevada Bar No. 5065

R. SCOTT RASMUSSEN

Nevada Bar No. 6100

1835 Village Center Cil'cle

Las Vegas, Nevada 89134

 

and

ALFRE]) J. BENNINGTON, .]R., ESQ.
Florida Bar No. 404985

(Pro hac vice to be filed)

GLENNYS ()RTEGA RUBIN, ESQ.
Florida Bar No. 556361

(Pro hac vice to be filed)

SHUTTS & BOWEN LLP

300 South Orange Avenue, Suite 1000
Orlando, Florida 32801

30

co-.rcs\ur.|>.r»[\>

\O

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:17-cv-O3007-RFB-VCF Document 1 Filed 12/06/17 Page 31 of 31

and

DANIEL J. BARSKY, ESQ.

Florida Bar No. 25713

(Pro hac vice to be filed)

SHUTTS & BOWEN LLP

200 South Biscayne Boulevard, Suite 4100
Miami, Florida 33131

Attomeysfor Plaintiffs

31

